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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

JOHN NANNI,                           )
an individual,                        )
                                      )
       Plaintiff,                     )                Case No:
                                      )
v.                                    )
                                      )
FP SPE LLC,                           )
a Delaware Limited Liability Company, )
                                      )
       Defendant.                     )
____________________________________/

                                         COMPLAINT

       Plaintiff, JOHN NANNI, an individual, by and through his undersigned counsel, hereby

files this Complaint and sues FP SPE LLC, a Delaware Limited Liability Company, for

injunctive relief, attorneys’ fees and costs pursuant to 42 U.S.C. §§ 12181 et seq., (“Americans

with Disabilities Act” or “ADA”) and states as follows:

                               JURISDICTION AND PARTIES

       1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans with Disabilities Act, 42 U.S.C. §§ 12181, et seq., (the “ADA”). This Court is vested

with original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b).

       3.      Plaintiff, JOHN NANNI, (hereinafter referred to as “MR. NANNI”) is a resident

of the State of Delaware.

       4.      MR. NANNI is a qualified individual with a disability under the ADA. MR.

NANNI suffers from Post-Polio Syndrome. MR. NANNI can only walk a very limited distance

each day, and is otherwise confined to a wheelchair.



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          5.    Due to his disability, Plaintiff is substantially impaired in several major life

activities including walking and standing, and requires a wheelchair for mobility.

          6.    The Defendant, FP SPE LLC, (hereinafter referred to as “DEFENDANT”) is a

Delaware Limited Liability Company registered to do business in Delaware. DEFENDANT is

the owner, lessee, and/or operator of the place of public accommodation including the real

property and improvements which are the subject of this action, to wit: Harmony Plaza, generally

located at 4102-4160 Ogletown Stanton Road, Newark, Delaware 19713 (“the Property”). The

Defendant is responsible for complying with the obligations of the ADA.

          7.    All events giving rise to this lawsuit occurred in the District of Delaware.

                                           COUNT I
                              (VIOLATION OF TITLE III OF THE ADA)

          8.    The allegations set forth in the preceding paragraphs above are incorporated by

reference as if fully set forth herein.

          9.    The Property, a shopping center with numerous retail stores, is a place of public

accommodation and is therefore subject to Title III of the ADA.

          10.   MR. NANNI has visited the Property several times during the past year, regularly

travels to the area where the Property is situated and plans to return to the Property in the near

future.

          11.   During his visits, MR. NANNI experienced serious difficulty accessing the goods

and utilizing the services therein due to the architectural barriers as discussed herein.

          12.   MR. NANNI intends to and will visit the Property to utilize the goods and

services in the future, but fears that he will face the same barriers to access as discussed herein.

          13.   Defendant has discriminated, and continues to discriminate, against Plaintiff in

violation of 42 U.S.C. §§ 12181 et seq. and 28 C.F.R. §§ 36.302 et seq. by excluding and/or


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denying Plaintiff the benefits of the goods and services located on the Property by failing to have

accessible facilities by January 26, 1992. These barriers to access include, but are not limited to

the following items which plaintiff personally observed and/or encountered at the Property:

                       A.      Plaintiff encountered inaccessible disabled use parking throughout

               the Property due to excessive slopes within the spaces. This forced Mr. Nanni to

               utilize extra caution in loading and unloading from his vehicle to avoid the

               heightened risk of a fall.

                       B.      Plaintiff encountered inaccessible disabled use parking throughout

               the Property due to low placement of signage and in some instances a lack of

               signage to identify the spaces exclusively for disabled use. This causes confusion

               in the parking lot in determining which spaces are exclusively for disabled use.

                       C.      Plaintiff encountered inaccessible routes throughout the Property

               between the disabled use parking spaces and the Property sidewalk due to several

               long stretches without access to curb ramps. Furthermore, several of the ramps

               that are provided have excessive slopes. This forced Mr. Nanni to utilize extra

               caution maneuvering from his parked vehicle to the stores and increases his risk

               of a fall.

                       D.      Plaintiff encountered inaccessible routes from the public sidewalk

               to the Property entrances due to excessive sidewalk slopes. Additionally, the

               sidewalk curb ramp is susceptible to being blocked by parked vehicles. This issue

               forces Mr. Nanni to use extreme caution maneuvering from the public sidewalk to

               the Property and increases his risk of a fall.




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       14.     Plaintiff has observed all exterior portions of the Property as well as the majority

of the interior spaces. However, upon information and belief, there are other current violations

of the ADA and ADA Accessibility Guidelines (“ADAAG”) at the Property, and only after a

formal inspection is performed by an expert can all said violations be fully identified.

       15.     To date, the readily achievable barriers and other violations of the ADA still exist

and have not been remedied or altered in such a way as to effectuate compliance with the

provisions of the ADA.

       16.     Independent of his intent to return as a patron of the Property, Plaintiff

additionally intends to return to the Property as an ADA tester to determine whether the barriers

to access stated herein have been remedied. However, but for the above described barriers to

access, Plaintiff would visit the Property more often.

       17.     Removal of the barriers to access located on the Property is readily achievable,

reasonably feasible and easily accomplishable without placing an undue burden on the

Defendant.

       18.     Removal of the barriers to access located on the Property would allow Plaintiff to

fully utilize the goods and services located therein.

       19.     The Plaintiff has been obligated to retain the undersigned counsel for the filing

and prosecution of this action. Plaintiff is entitled to have his reasonable attorneys’ fees, costs,

and expenses paid by Defendant pursuant to 42 U.S.C. § 12205.

                                     PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff demands judgment against DEFENDANT and requests the

following injunctive and declaratory relief:




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     A.     That the Court declares that the Property owned and administered by

            DEFENDANT is in violation of the ADA;

     B.     That the Court enter an Order directing DEFENDANT to alter the facilities to

            make them accessible to and usable by individuals with disabilities to the full

            extent required by Title III of the ADA;

     C.     That the Court enter an Order directing DEFENDANT to evaluate and neutralize

            the policies and procedures towards persons with disabilities for such reasonable

            time so as to allow DEFENDANT to undertake and complete corrective

            procedures.

     D.     That the Court award reasonable attorneys’ fees, costs (including expert fees), and

            other expenses of suit, to the Plaintiff; and that the Court award such other and

            further relief as it deems necessary, just and proper.

     E.     That this Court award Plaintiff such other additional and proper relief as may be

            just and equitable.

Dated: February 9, 2018
                                   Respectfully Submitted,


                           By: /s/ David T. Crumplar
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                                           -and-
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